            Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                      ROME DIVISION

PATRICIA KENNEDY, Individually,          :
                                         :
               Plaintiffs,               :
                                         :
v.                                       :                Case No. 4:20-cv-0069-LMM
                                         :
SHRINATHJI-KRUPA, INC., a Georgia        :
corporation d/b/a COUNTRY HEARTH INN & :
SUITES,                                  :
                                         :
               Defendant.                :
_______________________________________/

                                    AMENDED COMPLAINT
                                    (Injunctive Relief Demanded)

       Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

SHRINATHJI-KRUPA, INC., a Georgia corporation d/b/a COUNTRY HEARTH INN & SUITES

(sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

       1.       Plaintiff is a Florida resident, residing in Broward County, is sui juris, and qualifies

as an individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

life activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound

to ambulate in a wheelchair or with a cane or other support and has limited use of her hands.

       2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and their websites are in compliance with the ADA.
            Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 2 of 7




       3.       Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

place of public accommodation that the Defendant owns, operates, leases or leases to is a place of

lodging known as Country Hearth Inn & Suites, located at 25 Carson Loop, Cartersville, Georgia,

(hereinafter "Property").

       4.       Venue lies in the Northern District of Georgia because the property giving rise to this

cause of action, and the injury complained of, is located in this District.

       5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

       6.       As the owner, lessor, lessee, or operator of the subject premises, Defendant is required

to comply with the ADA. As such, Defendant is required to ensure that it's place of lodging is in

compliance with the standards applicable to places of public accommodation, as set forth in the

regulations promulgated by the Department Of Justice. Said regulations are set forth in the Code Of

Federal Regulations, the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"),

and the 2010 ADA Standards, incorporated by reference into the ADA. These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to ensure

that they are accessible to disabled individuals.

       7.       More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

                Reservations made by places of lodging. A public accommodation that owns,
                leases (or leases to), or operates a place of lodging shall, with respect to reservations
                made by any means, including by telephone, in-person, or through a third party -
                        (i) Modify its policies, practices, or procedures to ensure that individuals with
                        disabilities can make reservations for accessible guest rooms during the same


                                                    2
            Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 3 of 7




                       hours and in the same manner as individuals who do not need accessible
                       rooms;
                       (ii) Identify and describe accessible features in the hotels and guest rooms
                       offered through its reservations service in enough detail to reasonably permit
                       individuals with disabilities to assess independently whether a given hotel or
                       guest room meets his or her accessibility needs;
                       (iii) Ensure that accessible guest rooms are held for use by individuals with
                       disabilities until all other guest rooms of that type have been rented and the
                       accessible room requested is the only remaining room of that type;
                       (iv) Reserve, upon request, accessible guest rooms or specific types of guest
                       rooms and ensure that the guest rooms requested are blocked and removed
                       from all reservations systems; and
                       (v) Guarantee that the specific accessible guest room reserved through its
                       reservations service is held for the reserving customer, regardless of whether
                       a specific room is held in response to reservations made by others.

These regulations became effective March 15, 2012.

       8.       Defendant, either itself or by and through a third party, implemented, operates,

controls and or maintains certain websites for the Property which contains an online reservations

system. These websites are located at:

https://www.stayinns.com/country-hearth-inn/georgia/cartersville/country-hearth-inn-and-suites-c
artersville;
https://www.booking.com/hotel/us/howard-johnson-cartersville.html;
https://www.priceline.com/relax/at/54061/rooms/1;
https://in.hotels.com/ho211663/;
https://www.agoda.com/country-hearth-inn-suites-cartersville/hotel/cartersville-ga-us.html.

The purpose of these websites is so that members of the public may reserve guest accommodations

and review information pertaining to the goods, services, features, facilities, benefits, advantages,

and accommodations of the Property. As such, these websites are subject to the requirements of 28

C.F.R. Section 36.302(e). The Defendant has failed to provide the third party providers with the

information required for their websites to identify or allow for booking of accessible rooms or post

sufficient information regarding accessibility at the hotel in violation of 28 C.F.R. 36.302(e)(1)(ii).



                                                  3
            Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 4 of 7




       9.       Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

purpose of reviewing and assessing the accessible features at the Property and ascertain whether they

meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs. However, Plaintiff

was unable to do so because Defendant failed to comply with the requirements set forth in 28 C.F.R.

Section 36.302(e). The websites did not provide an option to book an accessible room. No

information was given as to whether or where the property offers compliant or accessible roll-in

showers, tubs, built in seating commodes, grab bars, sinks, wrapped pipes, sink and door hardware,

properly located amenities, sufficient maneuvering spaces, compliant doors, furniture, controls and

operating mechanisms. The websites do not contain any information as the accessibility of routes

connecting all the features of the hotel, the transaction counter, parking, and common area restrooms.

There is no information as to whether accessible rooms are on the ground floor or if an elevator is

provided within an accessible route, nor does the websites give any information regarding whether

the hotel pool has an accessible lift. As a result, Plaintiff was deprived the same goods, services,

features, facilities, benefits, advantages, and accommodations of the Property available to the general

public. Plaintiff's initial visit to the websites occurred on March 6, 2019.

       10.      In the near future, Plaintiff intends to revisit Defendant's websites and/or online

reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e) and/or to

utilize the websites to reserve a guest room and otherwise avail herself of the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property.

       11.      Plaintiff re-visited the websites on or about March 12, 13, and 14, 2019, and May 17,

2019, and encountered the same conditions described above. Plaintiff is continuously aware that the




                                                  4
         Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 5 of 7




subject websites remain non-compliant and that it would be a futile gesture to revisit the websites

as long as those violations exist unless she is willing to suffer additional discrimination.

       12.        The violations present at Defendant's websites infringe Plaintiff's right to travel free

of discrimination and deprive her of the information required to make meaningful choices for travel.

Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of the

discriminatory conditions present at Defendant's websites. By continuing to operate websites with

discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

deprives Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges and/or

accommodations available to the general public. By encountering the discriminatory conditions at

Defendant's websites, and knowing that it would be a futile gesture to return to the websites unless

she is willing to endure additional discrimination, Plaintiff is deprived of the same advantages,

privileges, goods, services and benefits readily available to the general public. By maintaining a

website with violations, Defendant deprives Plaintiff the equality of opportunity offered to the

general public.

       13.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

of the Defendant’s discrimination until the Defendant is compelled to modify its websites to comply

with the requirements of the ADA and to continually monitor and ensure that the subject websites

remains in compliance.

       14.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

the Defendant’s non-compliance with the ADA with respect to these websites. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in violation

of the ADA by the Defendant.


                                                      5
           Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 6 of 7




          15.   The Defendant has discriminated against the Plaintiff by denying her access to, and

full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject websites.

          16.   The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as requested

herein.

          17.   Defendant has discriminated against the Plaintiff by denying her access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the Plaintiff,

and all those similarly situated by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities; and by failing to take such

efforts that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the absence

of auxiliary aids and services.

          18.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and litigation

expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

          19.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter the subject websites to make

them readily accessible and useable to the Plaintiff and all other persons with disabilities as defined


                                                   6
            Case 4:20-cv-00069-LMM Document 19 Filed 07/21/20 Page 7 of 7




by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time as the

Defendant cures its violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

       a.       The Court issue a Declaratory Judgment that determines that the Defendant at the

                commencement of the subject lawsuit is in violation of Title III of the Americans

                with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.       Injunctive relief against the Defendant including an order to revise its websites to

                comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

                maintain the website to ensure that it remains in compliance with said requirement.

       c.       An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

                § 12205.

       d.       Such other relief as the Court deems just and proper, and/or is allowable under

                Title III of the Americans with Disabilities Act.

                Respectfully Submitted,

                                              Attorneys for Plaintiff



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